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                                     INFORMATION SHEET                          3/4/2021 2:28 pm
                                                                                U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT
                                                                           EASTERN DISTRICT OF NEW YORK
                             EASTERN DISTRICT OF NEW YORK
                                                                                LONG ISLAND OFFICE


1.      Title of Case: United States v. Karl Jordan Jr. and Ronald Washington

2.      Related Magistrate Docket Number(s): 20-CR-305 (LDH)

3.      Arrest Date:   August 17, 2020

4.      Nature of offense(s):    ☒ Felony
                                 ☐ Misdemeanor

5.      Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
        Division of Business Rules):

6.      Projected Length of Trial:    Less than 6 weeks        ☒
                                      More than 6 weeks        ☐

7.      County in which crime was allegedly committed: Brooklyn
        (Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)

8.      Was any aspect of the investigation, inquiry and prosecution giving rise to the case
        pending or initiated before March 10, 2012.1                ☒ Yes ☐ No

9.      Has this indictment/information been ordered sealed?        ☐ Yes ☒ No

10.     Have arrest warrants been ordered?                          ☐ Yes ☒ No

11.     Is there a capital count included in the indictment?        ☒ Yes ☐ No


                                                      SETH D. DUCHARME
                                                      ACTING UNITED STATES ATTORNEY

                                              By:      /s/ Mark E. Misorek _______________
                                                      Mark E. Misorek
                                                      Artie McConnell
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000



1
        Judge Brodie will not accept cases that were initiated before March 10, 2012.



Rev. 10/04/12
